                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION



JOSHUA JARRETT, JESSICA JARRETT

                       Plaintiffs,
                                                           Case No. 3:21-cv-00419
               v.

UNITED STATES OF AMERICA,

                       Defendant.




                       [PROPOSED] FIRST AMENDED COMPLAINT

       Plaintiff Joshua Jarrett (“Mr. Jarrett”) and Plaintiff Jessica Jarrett (collectively, the

“Jarretts”), by and through their undersigned counsel, file this Complaint against the United

States of America pursuant to 26 U.S.C. § 7422 and 26 U.S.C. § 6532, petitioning for a refund of

federal income taxes paid to Defendant United States of America, by and through its agency the

Internal Revenue Service (the “IRS”), with respect to the Jarretts’ taxable year ending December

31, 2019, and statutory interest thereon. As the basis for their Complaint, Plaintiffs allege as

follows:

                                     NATURE OF THE ACTION

       1.      Cryptocurrency (also called “virtual currency”) is a digital representation of value

that can function as a medium of exchange, store of value or other digital item. Units of the type

of cryptocurrency that is the subject of this case are known as “Tezos tokens.”

       2.      Records of cryptocurrency transactions are known as a “blockchain.” A public

blockchain is maintained across a series of computers with no common owner that serve to




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record and secure cryptocurrency transactions by verifying transfers of the cryptocurrency and

by creating an immutable, transparent ledger of each transaction.

          3.    The Tezos public blockchain is built via a “proof-of-stake” process, whereby

persons can employ their Tezos tokens and computing power to validate transactions that use

Tezos tokens. This process creates new “blocks” on the Tezos public blockchain, and as part of

the creation of a new block, the participants each create new Tezos tokens. If no such persons

utilize their computing power and tokens to validate transactions, no new blocks or new Tezos

tokens would be created.

          4.   In 2019, and in every year since, Mr. Jarrett engaged in a staking enterprise,

whereby he employed his tokens and his computing power to contribute to the creation of new

blocks on the Tezos public blockchain and which resulted in his creation of 8,876 new Tezos

tokens.

          5.   Mr. Jarrett intends to continue engaging in this staking enterprise for the

foreseeable future.

          6.   The new Tezos tokens that Mr. Jarrett created in 2019 can be sold or exchanged

for other cryptocurrencies, government-backed (or “fiat”) currency, or for goods or services.

However, during 2019, Mr. Jarrett did not sell or exchange any of the 8,876 new Tezos tokens

created through his staking enterprise.

          7.   The federal income tax law does not permit the taxation of tokens created through

a staking enterprise. Like a baker who bakes a cake using ingredients and an oven, or a writer

who writes a book using Microsoft Word and a computer, Mr. Jarrett created property. Like the

baker or the writer, Mr. Jarrett will realize taxable income when he first sells or exchanges the




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new property he created, but the federal income tax law does not permit the taxation of the

Jarretts simply because Mr. Jarrett created new property.

       8.       The United States here seeks to use the federal income tax law to do something

unprecedented, which is tax creative activity rather than income. Taxing newly created cakes,

books, or tokens as income would have far-reaching and detrimental effects on taxpayers and the

U.S. economy, and is without support in the Internal Revenue Code, regulations, caselaw, or the

Constitution.

       9.       Because the Tezos tokens Mr. Jarrett created in 2019 were not income in 2019,

the Jarretts are entitled to a refund, pursuant to 26 U.S.C. § 7422 and 26 U.S.C. § 6532, for all

federal income taxes they paid attributable to tokens created through Mr. Jarrett’s staking

enterprise.

                                          THE PARTIES

       10.      Plaintiff Joshua Jarrett is an individual who resides in Nashville, Tennessee.

       11.      Plaintiff Jessica Jarrett is an individual who resides in Nashville, Tennessee.

       12.      Defendant is the United States of America, by and through its agency the Internal

Revenue Service.

                                 JURISDICTION AND VENUE

       13.      This Court has jurisdiction under 28 U.S.C. § 1346(a)(1) and 26 U.S.C. § 7422.

       14.      Venue is proper in this judicial district under 28 U.S.C. § 1402(a)(1) because the

Jarretts reside in the Middle District of Tennessee. Intradistrict venue is proper in the Nashville

Division pursuant to 28 U.S.C. § 123(b)(1) & Local Rule 77.01(a).

       15.      Pursuant to 26 U.S.C. §§ 6532(a)(1) & 26 U.S.C. § 7422, the Jarretts bring this

action after paying the disputed federal income taxes that were erroneously assessed, and more




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than six months from their timely filing of a refund claim with the Internal Revenue Service for

the overpayment of federal income taxes, and statutory interest thereon.

       16.     The Jarretts have satisfied all conditions precedent to filing this suit.

                                  FACTUAL BACKGROUND

Tezos Cryptocurrency

       17.     Tezos tokens are a form of virtual currency, as defined in I.R.S. Notice 2014-21,

2014-16 I.R.B. 938, 2014 WL 1224474 (Mar. 26, 2014).

       18.     New blocks are created on the Tezos public blockchain through a proof-of-stake

process that requires persons to employ both existing tokens and computer equipment.

       19.     Each time a new block is created on the Tezos public blockchain, new Tezos

tokens are created.

Joshua Jarrett

       20.     Mr. Jarrett owned 102,708 Tezos tokens at the start of 2019.

       21.     During 2019, Mr. Jarrett purchased 98,554 additional Tezos tokens, and

transferred 460 Tezos tokens to others as payment for goods and services.

       22.     Mr. Jarrett owned 209,678 Tezos tokens at the end of 2019, inclusive of his 8,876

newly created tokens.

       23.     In 2019 Mr. Jarrett engaged in a staking enterprise, whereby he employed both his

tokens and his computing power which contributed to the creation of new blocks on the Tezos

public blockchain and resulted in his creation of 8,876 new Tezos tokens.

       24.     Mr. Jarrett kept all of these newly created Tezos tokens in his digital wallet

throughout 2019.




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        25.    No person, as defined in 26 U.S.C. § 7701(a)(1), paid the newly created Tezos

tokens to Mr. Jarrett.

        26.    The Jarretts timely filed their 2019 federal income tax return with the Internal

Revenue Service. The Jarretts reported $9,407 from the creation of new Tezos tokens as “other

income” on Schedule C, line 8 of their Form 1040.

        27.    On or about July 31, 2020, the Jarretts timely filed a Form 1040-X (the “Refund

Claim”) with the Internal Revenue Service, which is incorporated herein by reference. The

Refund Claim asserts that the inclusion of $9,407 is not income subject to taxation under 26

U.S.C. § 61. The Refund Claim requested a refund of the $3,293 paid in federal income tax on

the Tezos tokens Mr. Jarrett created, along with a $500 increase in tax credits that resulted from

the reduction of the Jarretts’ income, for a total refund of $3,793.

        28.    As of the date of this filing, no response has been received to the Refund Claim.

        29.    As of the date of this filing, no notice of disallowance has been mailed to the

Jarretts.

        30.    The Jarretts are the sole owner of their refund claim, and they have neither

assigned nor transferred any part of that claim.

        31.    In the Jarretts 2020 and 2021 taxable years, the Jarretts did not have deductions,

losses, or other items that would prevent their reporting of another overpayment.




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                                    LEGAL BACKGROUND

       32.     Virtual currency is property for purposes of U.S. federal tax law.

       33.     No provision of the Internal Revenue Code or the regulations thereunder

specifically addresses the tax treatment of cryptocurrency.

       34.     U.S. federal income tax law taxes an individual’s gross income minus applicable

deductions. See 26 U.S.C. §§ 1; 63(a).

       35.     26 U.S.C. § 61(a) provides a nonexclusive list of types of income that are

included within gross income. No express provision of 26 U.S.C. § 61 or any regulation

thereunder treats as gross income an item of property created by a person.

       36.     New property—property not received as payment or compensation from another

person but created by the taxpayer—is not and has never been income under U.S. federal tax

law.

       37.     The U.S. Supreme Court, in Eisner v. Macomber, 252 U.S. 189 (1920), held that

income must involve a “coming in.” Macomber, 252 U.S. at 207 (emphasis omitted). Property

that a taxpayer creates does not “come in” to the taxpayer; rather, property that the taxpayer

creates goes out from the taxpayer.

       38.     In Commissioner v. Glenshaw Glass, 348 U.S. 426 (1955), the Supreme Court

characterized income as “instances of undeniable accessions to wealth, clearly realized, and over

which the taxpayers have complete dominion.” Glenshaw Glass, 348 U.S. at 431. Thus,

Glenshaw Glass requires that an accession to wealth be “clearly realized” to potentially be

treated as income.

       39.     Per the Oxford English Dictionary, to “realize” is to “convert (an asset, as

securities, property, etc.) into a more concrete or readily accessible form of wealth . . . in order to




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obtain the monetary value.” Realization, Oxford English Dictionary Online (3d ed. 2020).

Therefore, Glenshaw Glass would not tax the baker solely because he bakes a cake, or the writer

solely because she writes a book, i.e., created property is not “realized” wealth.

       40.     The Court’s characterizations of income in both Macomber and Glenshaw Glass

are consistent with the statutory text of 26 U.S.C. § 61(a), which acknowledges that “income”

(i.e., something coming in) must be “derived” from a “source.”

       41.     The sale or exchange by Mr. Jarrett of the Tezos tokens he created will be a

taxable event. See 26 U.S.C. §§ 61(a)(3); 1001.

       42.     In summary, neither the Internal Revenue Code, regulations, caselaw, nor the

Constitution permit the treatment of created property as income. Therefore, consistent with over

a century of federal income tax law, the property created by Mr. Jarrett is not income to the

Jarretts until such property is sold or exchanged.



                                     CLAIMS FOR RELIEF

                      Count One – Refund Claim for the 2019 Tax Year

       43.     The Jarretts hereby incorporate by reference the allegations contained in

paragraphs 1 through 42 as if fully set forth herein.

       44.     The 8,876 new Tezos tokens created by Mr. Jarrett during 2019 were not income

under federal income tax law.

       45.     Accordingly, the $9,407 reported on the Jarretts’ originally filed 2019 federal tax

return is not income, and the Jarretts are accordingly entitled to a refund for the 2019 year in the

amount of $3,793, plus statutory interest as provided by law.




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                                    PRAYER FOR RELIEF

WHEREFORE, the Jarretts respectfully request that the Court grant the following relief:

       A.      A judgment that the disputed federal income taxes were erroneously assessed;

       B.      An order awarding the Jarretts a refund for the 2019 tax year in the amount of

$3,793, plus statutory interest thereon as provided by law;

       C.      An order awarding Jarretts their costs in this action, including attorneys’ fees;

       D.      A permanent injunction against the Internal Revenue Service, preventing it from

treating tokens created by the Jarretts as income.

       E.      An award of such other and further relief as the Court deems just and proper.




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                                      Respectfully submitted,

                                      CONSOVOY MCCARTHY PLLC
                                      Cameron T. Norris
                                      Jeffrey M. Harris
                                      1600 Wilson Boulevard, Suite 700
                                      Arlington, VA 22209
                                      Telephone: 703.243.9423

                                      FENWICK & WEST LLP
                                      /s/ David L. Forst
                                      David L. Forst
                                      Sean P. McElroy
                                      Silicon Valley Center
                                      801 California Street
                                      Mountain View, CA 94041
                                      Telephone:     650.988.8500
                                      Facsimile:     650.938.5200

                                      J. Abraham Sutherland
                                      104 Prospect Street
                                      Black Mountain, NC 28711
                                      Telephone: 805.689.4577

                                      DATED:         May 26, 2021


                                      Attorneys for Plaintiffs




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